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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:00CR150
                              )
          v.                  )
                              )
MICHAEL SWAIN,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue hearing (Filing No. 314).          The Court finds said

motion should be granted.      Accordingly,

           IT IS ORDERED that the final dispositional hearing on

the petition for offender under supervision (Filing No. 306) is

rescheduled for:

                 Thursday, September 6, 2007, at 10 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 28th day of August, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
